     Case: 1:21-cv-00998 Document #: 32 Filed: 05/12/21 Page 1 of 2 PageID #:162




                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

MICHAEL COZZI, et al.                                 )
                                                      )
                        Plaintifs,                    )
                                                      )       Case No. 21 CV 00998
v.                                                    )
                                                      )       Judge Steven Seeger
VILLAGE OF MELROSE PARK,                              )
Et al.,                                               )
                                                      )
                        Defendants.                   )

                          RULE 16(b) JOINT SCHEDULING ORDER

         Pursuant to the Court’s February 24, 2021, Minute Entry (ECF No. 6), Plaintiffs, Michael

Cozzi, Vincent Cozzi, and Angeline Cozzi (collectively “Plaintiffs”) and Defendants Village of

Melrose Park, an Illinois Municipal Corporation, and Ronald Serpico, in his individual capacity,

hereby submit this Joint Initial Status Report.


                         SCHEDULING ORDER UNDER RULE 16(b)

         The Court received the parties’ Joint Initial Status Report, which contained a proposed

discovery plan as required by Rule 26(f)(2). Based on the discovery plan proposed by the

parties, the Court hereby sets the following scheduling order under Rule 16(b). The Court will

modify this schedule “only for good cause.” See Fed. R. Civ. P. 16(b)(4).

 Event                                             Deadline

 Amendment to the pleadings                        September 30, 2021

 Service of process on any “John Does”             September 30, 2021

 Completion of Fact Discovery                      February 28, 2022

 Disclosure of Plaintiff’s Expert Report(s)        The parties propose that they set an expert
                                                   discovery schedule either immediately after
                                                   any dispositive motion is decided by the
                                                   Court or, if no dispositive motion is filed,
                                                   immediately after the deadline for filing
   Case: 1:21-cv-00998 Document #: 32 Filed: 05/12/21 Page 2 of 2 PageID #:163




                                                 passes, 45 days after the close of fact
                                                 discovery (April 15, 2022).
Deposition of Plaintiff’s Expert                 See above.

Disclosure of Defendant’s Expert Report(s)       See above.

Deposition of Defendant’s Expert                 See above.

Dispositive Motions                              April 15, 2022




Date: May 12, 2021

                                                   Steven C. Seeger
                                                   United States District Judge




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